                                     Case 8:20-cv-01928-JLS-KES Document 22 Filed 01/19/21 Page 1 of 3 Page ID #:65




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                                      5   Attorney for Plaintiff: JAMES RUTHERFORD
                                      6
                                      7                        UNITED STATES DISTRICT COURT
                                      8                      CENTRAL DISTRICT OF CALIFORNIA
                                      9
                                     10                                                CASE No 8:20-cv-01928-JLS (KESx)
                                           JAMES RUTHERFORD, an
                                     11    individual,
                                     12
                                                       Plaintiff,                      NOTICE OF VOLUNTARY
                                           v.                                          DISMISSAL, WITH PREJUDICE
                                                                                       PURSUANT TO FED. R. CIV. P.
                                     13                                                41(a)(1)(A)(i)
                                     14    MARSHALLS OF CA, LLC, a
                                           Virginia limited liability company;
                                     15    ROIC SANTA ANA, LLC, a
                                     16    Delaware limited liability company;
                                           and DOES 1-10, inclusive,
                                     17
                                                       Defendants.
                                     18
                                     19
LAW OFFICES OF BABAK HASHEMI, ESQ.

 NEWPORT BEACH, CALIFORNIA 92660




                                     20         TO THE HONORABLE COURT, ALL PARTIES, AND THEIR
   20062 SW BIRCH ST., STE. 200




                                     21   COUNSEL OF RECORD:
                                     22         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
                                     23   Plaintiff, JAMES RUTHERFORD (“Plaintiff”) requests that this Court enter a
                                     24   dismissal with prejudice of Plaintiff’s Complaint in the above-entitled action. Plaintiff
                                     25   has reached a full and final confidential settlement with Defendants and have agreed
                                     26   that each party shall bear his, their or its own costs and attorneys’ expenses.
                                     27
                                     28
                                                                                                   Case No. 5:20-cv-01928-JLS-KESx
                                                                                   1
                                          NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)
                                     Case 8:20-cv-01928-JLS-KES Document 22 Filed 01/19/21 Page 2 of 3 Page ID #:66




                                      1   Defendants have not filed an answer to Plaintiff’s Complaint and no cross-claims have
                                      2   been advanced by Defendants, either individually or collectively.
                                      3
                                      4   Respectfully Submitted.
                                      5
                                      6   Dated: January 19, 2021          LAW OFFICES OF BABAK HASHEMI, ESQ.
                                      7                                    By:     /s/ Babak Hashemi
                                      8                                           Babak Hashemi, Esq.
                                                                                  Attorney for Plaintiff
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LAW OFFICES OF BABAK HASHEMI, ESQ.

 NEWPORT BEACH, CALIFORNIA 92660




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                                                                                                   Case No. 5:20-cv-01928-JLS-KESx
                                                                                   2
                                          NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)
Case 8:20-cv-01928-JLS-KES Document 22 Filed 01/19/21 Page 3 of 3 Page ID #:67




 1                        CERTIFICATE OF SERVICE
 2        I certify that on January 19, 2021, I electronically filed the foregoing
 3   document with the Clerk of the Court using CM/ECF. I also certify that the
 4   foregoing document is being served this day on Defendants’ respective
 5   representatives in this action via email transmission and via transmission of
 6   Electronic Filing generated by CM/ECF.
 7
 8   DATED: January 19, 2021          LAW OFFICES OF BABAK HASHEMI

 9                                    By: /s/Babak Hashemi
                                        Babak Hashemi, Esq.
10
                                        Attorney for Plaintiff
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